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May 24, 2024

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Hon. Vince Chhabria
United States District Court, Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Via ECF

Re:      In re Roundup Products Liability Litigation, Case No. 3:16-md-02741-VC
         Rolish v. Monsanto Co., Case No. 20-cv-01421-VC

Dear Judge Chhabria:

This letter is jointly submitted on behalf of both Plaintiff Lois Rolish and Defendant Monsanto
Company.

On May 17, 2024, Your Honor issued an order in relation to three matters subject to this
multidistrict litigation—Beavers, Case No. 20-cv-08799-VC, Gonzalez, Case No. 20-cv-06198-
VC, and Rolish, Case No. 20-cv-01421-VC —excluding each Plaintiff’s specific causation
expert. Dkt. 18367. Your Honor’s decision ended with the direction that “it appears that
summary judgment should be granted given the absence of any expert testimony on specific
causation. The parties should file a letter within seven days of this ruling which states whether, in
light of this ruling, the Court should file a suggestion of remand or enter summary judgment for
Monsanto based on the absence of expert testimony on specific causation.” Dkt. 18367 at 6.
Monsanto has filed a separate letter in the Beavers and Gonzalez cases asking that the Court
enter summary judgment for Monsanto.

In the Rolish case, the parties have reached a resolution. Therefore, there is no need for the
Court to decide summary judgment in the Rolish case. Plaintiff intends to dismiss the case with
prejudice once the resolution paperwork is finalized.




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Sincerely,

/s/ Steven Williams
Steven Williams
Counsel for Plaintiff Lois Rolish

_/s/ Jed P. White__
Jed P. White
Counsel for Defendant Monsanto Co.
